5/27/2021   Case 6:21-cv-00959-RBD-LRH Document 1-4 Filed 06/02/21 Page 1 of 2 PageID 38
                    Orange County Clerk - Court Records Search



                   2021-CA-005256-O : GRIFFIN, DATHAN A vs. EPIC GAMES, INC

      Case Type:          CA - Breach of Agreement/Contract                      Date Filed:              5/24/2021
      Location:           Div 40                                                 UCN:                     482021CA005256A001OX
      Judge:              Reginald K Whitehead                                   Status:                  Pending
      Citation Number:    CA - Breach of Agreement/Contract                      Appear By Date:


                                                           Parties
  Name                                                               Type                      Attorney         Atty Phone
  DATHAN A GRIFFIN                                                   Plaintiff
  EPIC GAMES, INC                                                    Defendant
  ET AL A MARYLAND CORPORATION




                                                        Charge Details
  Offense Date                     Charge        Plea       Arrest               Disposition                   Sentence



                                                        Docket Events
  Date            Description                                                                                             Pages
  5/24/2021       Correspondence                                                                                          2

                  Comments: PROCESS SERVICE MEMORANDUM
  5/24/2021       Correspondence                                                                                          1

                  Comments: LIST OF CONTENTS
  5/24/2021       Order Approving Streamlined Case Management Plan                                                        3
  5/24/2021       Summons Issued                                                                                          4

                  Comments: ORIGINAL AND COPY HANDED TO PLAINTIFF
  5/24/2021       Complaint                                                                                               11
  5/24/2021       Civil Cover Sheet                                                                                       3
  5/24/2021       Case Initiated




                                                          Hearings
  Date              Hearing                     Time                  Location                                Pages



                                                          Financial
  Date               Description                                     Payer                                            Amount
  5/24/2021          Transaction Assessment                                                                                    400.00
  5/24/2021          Transaction Assessment                                                                                     10.00
  5/24/2021          Payment                                         GRIFFIN, DATHAN A                                          -10.00
  5/24/2021          Payment                                         GRIFFIN, DATHAN A                                         -400.00

                                                                     Balance Due:                                                 0.00




                                                                                                                                     1/2
5/27/2021   Case 6:21-cv-00959-RBD-LRH Document 1-4 Filed 06/02/21 Page 2 of 2 PageID 39
                                             Bonds
  Description                      Status Date                    Bond Status                                Amount



                                                       Warrants
  Number      Status Description      Issue Date   Service Date     Recall Date   Expiration Date   Warrant Type




                                                                                                                   2/2
